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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 RUBY FREEMAN


 and                                             No. 21-cv-3354 (BAH)


 WANDREA’ MOSS,


                       Plaintiffs,


        v.


 RUDOLPH W. GIULIANI,


                       Defendant.




  [PROPOSED] ORDER DISSOLVING STAY OF ENFORCEMENT PURSUANT TO
    FED. R. CIV. P. 62(a) AND PERMITTING IMMEDIATE REGISTRATION OF
                    JUDGMENT PURSUANT TO 28 U.S.C. § 1963

       Upon consideration of Plaintiffs’ motion to dissolve the stay of enforcement pursuant to

Fed. R. Civ. P. 62(a) and for leave to register the judgment in a foreign district pursuant to 28

U.S.C. § 1963, it is hereby ORDERED that Plaintiffs’ motion is granted.

       It is further ORDERED, pursuant to Federal Rule of Civil Procedure 62(a), that the stay of

execution of the final judgment entered on December __, 2023, and of proceedings to enforce it,

is DISSOLVED, effective immediately.

       It is further ORDERED, pursuant to 28 U.S.C. § 1963, that Plaintiffs are authorized to

immediately register the final judgment entered December __, 2023, in any other district of the

United States.

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         The Clerk of Court is respectfully directed to issue Plaintiffs a completed and signed Form

AO 451, together with a copy of the final judgment entered December __, 2023, and a copy of this

Order.

         SO ORDERED.

         December __, 2023                             _________________________________
                                                       Hon. Beryl A. Howell
                                                       United States District Judge




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